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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           )
                                                   )   No.    1:22-cr-15-11 (APM)
        v.                                         )
                                                   )
EDWARD VALLEJO,                                    )
                                                   )
                           Defendant.              )

              GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
                    FOR RECONSIDERATION OF DETENTION


        Edward Vallejo is charged by indictment with seditious conspiracy and related offenses for

participating in a plot to oppose by force the execution of the laws governing the transfer of

presidential power following the 2020 United States Presidential Election, including an attack on

the United States Capitol on January 6, 2021. He should be detained pending trial.

        Vallejo played a central role in the planned use of force in this plot, agreeing and preparing

to usher firearms and other related equipment into Washington, D.C., to his co-conspirators.

Afterward, many co-conspirators destroyed evidence of their actions, deleting key

communications and warning of “turn-coat snitches.” Based on the compelling evidence of

Vallejo’s role in the charged offenses, there are no conditions of release that can reasonably assure

the safety of the community or the defendant’s appearance in court. And based on the inherent

obstructive nature of Vallejo’s actions and the widespread evidence in this conspiracy of evidence

destruction, Vallejo poses a risk obstruction of justice should he be released. Continued pretrial

detention is warranted and necessary.

   I.        Procedural Background

        Vallejo is charged with seditious conspiracy, in violation of 18 U.S.C. § 2384; conspiracy

to obstruct Congress, in violation of 18 U.S.C. § 1512(k); obstruction of an official proceeding, in
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violation of 18 U.S.C. § 1512(c)(2); and conspiracy to prevent an officer from discharging any

duties, in violation of 18 U.S.C. § 372. Upon return of the indictment, a United States Magistrate

Judge for the District of Columbia issued a warrant for Vallejo’s arrest. Vallejo was arrested on

January 13, 2022, and he had his initial appearance on Friday, January 14. The United States

moved for Vallejo’s pretrial detention pursuant to 18 U.S.C. §§ 3142(f)(1)(E) (case that involves

a felony “that involves the possession or use of a firearm, destructive device … or any other

dangerous weapon”), 3142(f)(2)(A) (case that involves “a serious risk that [the defendant] will

flee”), and 3142(f)(2)(B) (case that involves “a serious risk that [the defendant] will obstruct or

attempt to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or

intimidate, a prospective witness or juror”).

       Following a detention hearing on January 20, 2022, District of Arizona Magistrate Judge

John Boyle ordered the defendant held pending trial. Vallejo, 2:22-mj-05032-DMF (D.Ariz); ECF

9. Judge Boyle found that the government established that Vallejo posed a danger to the

community by clear and convincing evidence and that no condition or combination of conditions

could ensure the safety of the community. Specifically, Judge Boyle found that the facts as alleged

in the indictment “threaten[ed] the very fabric of democracy.” Exhibit 1 at 31. In describing the

dangerousness of Vallejo, who was a leader of the “Quick Reaction Force” under the command of

Oath Keeper President Stewart Rhodes, Judge Boyle stated:

               I go back to what happened back in January 6th, and I've already stated it, I
       think that if Mr. Rhodes had given that order, you would have complied. And that
       means there is the potential that as, I believe you used the word soldier, but certainly
       that's how you described yourself, that you would take orders, if necessary, to fulfill
       what you believe is important to you, and, therefore, you are a serious danger at
       this time. Exhibit 1 at 36.

       On April 18, 2022, defense moved for pretrial release. ECF 102. Judge Boyle’s original

findings regarding the danger posed by the defendant were well reasoned and supported by the



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evidence, and there have been no change in conditions and or new evidence presented by the

defense sufficient to warrant release. Vallejo should remain detained pending trial.

   II.       Legal Standard

          “If a person is ordered detained by a magistrate judge, or by a person other than a judge of

a court having original jurisdiction over the offense and other than a Federal appellate court[,] the

person may file, with the court having original jurisdiction over the offense, a motion for

revocation or amendment of the order.” 18 U.S.C. § 3145(b). “Neither § 3142 nor § 3145 specifies

the standard of review to be applied by a district court reviewing a magistrate judge’s release or

detention order, and the ‘D.C. Circuit has not yet addressed the issue.’” United States v.

Chrestman, No. 21-MJ-218 (ZMF), 2021 WL 765662, at *5 (D.D.C. Feb. 26, 2021) (quoting

United States v. Hunt, 240 F. Supp. 3d 128, 132–33 (D.D.C. 2017)). “Nonetheless, both the [Bail

Reform Act] and the Federal Magistrates Act, 28 U.S.C. § 636, support the conclusion, reached

by every circuit to have considered the question, that a district court reviews a magistrate judge’s

release or detention order de novo.” Id (citing cases); see also Cua, 2021 WL 918225, at *3.

   III.      Factual Background

          Vallejo participated in a plot to oppose by force the execution of the laws governing the

transfer of presidential power in the United States. In November 2020, days after the Presidential

Election, co-defendant Elmer Stewart Rhodes III, the leader of the conspiracy, began recruiting

co-conspirators to join him in traveling to Washington, D.C., for operations aimed at stopping the

transfer of power with the support of an armed “quick reaction force,” or “QRF,” stationed just

across the river in Arlington, Virginia. Vallejo and others joined and implemented this plan by,

among other means, using social media and encrypted messaging to communicate; amassing

weaponry and tactical gear; organizing into regional teams to transport these items to the D.C.




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area; and staging Vallejo nearby to be prepared to assist his co-conspirators at his commander’s

orders.

          In December 2020, after the Electoral College cast ballots confirming Joseph Biden as the

President-Elect, the defendants’ criminal plan focused on delaying or stopping Congress’s

Certification of the Electoral College vote (“Certification proceeding”). This plan materialized on

January 6, 2021, the day of the Certification proceeding, when two military-style stacks of co-

conspirators, along with other rioters, forcibly breached the Capitol while Vallejo and others staged

as armed QRF teams across the Potomac River, awaiting potential deployment and empowering

the co-conspirators. The breach succeeded in delaying the Certification proceeding for several

hours, and the proceeding ultimately concluded in the early morning hours of January 7. That

same morning, Vallejo performed “Recon” in the area near the Capitol to see if he and his co-

conspirators’ could “probe their defense line.” In the days that followed, Vallejo’s team reached

out to Rhodes for next steps while his co-conspirators continued to make plans to stop the

presidential power transfer, amass additional weaponry and tactical gear, and prepare themselves

to deploy their arms, if necessary, to stop the inauguration of a new president.

          Vallejo played a central role in the plot to oppose by force American laws governing the

transfer of presidential power. He volunteered to travel across the country to support this plot;

stationed himself in a hotel full of firearms, ammunition, and equipment; affirmed his commitment

to the mission during the Capitol attack; and expressed support for the plot in the immediate

aftermath of the attack. Vallejo, in his own words and actions, was prepared to use force against

the government of the United States of America and there is nothing to suggest that he has changed

his views.

          A. Co-Conspirators Plan to Forcibly Oppose the Lawful Transfer of Presidential
             Power



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       In November 2020, days after the election, Rhodes, the leader of the Oath Keepers, began

disseminating messages to other Oath Keepers members and affiliates delegitimizing the results

of the election and encouraging them to forcibly oppose the lawful transfer of presidential power.

See Indictment at ¶¶ 18(a) (telling those on the “Leadership intel sharing secured” chat (hereafter

“Leadership Intel Chat”), on November 5, that they “MUST refuse to accept Biden as a legitimate

winner” and warning, “We aren’t getting through this without a civil war. Too late for that.

Prepare your mind, body, spirit.”). Rhodes circulated and highlighted an eight-step plan, allegedly

from a Serbian contact to overthrow the government, which included: (i) peaceful protest, (ii)

complete civil disobedience, (iii) connecting with the police and organizing neighborhoods, (iv)

swarming the streets and confronting opponents, (v) gathering in the capitol and discarding

barricades, (vi) police joining with the protestors after initial violence, (vii) storming parliament,

and (viii) destroying the state media. Id. at ¶ 18.

       Rhodes followed this plan in the months after the presidential election. At his direction,

certain members of his organization began preparing for operations inside of Washington, D.C.

Indictment at ¶ 21. He further organized deadly weapons to aid in the conspiracy. Heavily armed

QRF teams would be minutes away, just outside the Capitol, ready to support those on the ground.

Id. at ¶¶ 42-45. All contingency plans were considered. The conspirators even sought to ferry

lethal weapons from Virginia by boat into the Capitol, if the bridges were closed. Id. at ¶ 52

       In December 2020, Rhodes focused his co-conspirators on the Certification proceeding of

January 6, 2021. During a December 22 interview with a regional Oath Keepers leader, Rhodes

described January 6 as “a hard constitutional deadline” for stopping the transfer of presidential

power and warned that if President-Elect Biden were to assume the presidency, “We will have to

do a bloody, massively bloody revolution against them.” Indictment at ¶ 30. On December 23,



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Rhodes published an open letter on the Oath Keepers website in which he noted that, on January

6, “tens of thousands of patriot Americans, both veterans and non-veterans, will already be in

Washington D.C., and many of us will have our mission-critical gear stowed nearby just outside

D.C.” Id. at ¶ 31. Rhodes warned in the open letter that he and others may have to “take to arms

in defense of our God given liberty.” Id.

        Rhodes and his co-conspirators created and administered Signal chats with titles like “DC

OP: Jan 6 21” and “OKFL Hangout” for coordinating their plans for January 6. Indictment at

¶¶ 38-40. They utilized encrypted messaging applications for these planning chats and stressed

the need for operational security. See, e.g., id. at ¶ 27. The co-conspirators discussed being

prepared to use violence to stop the “usurpers” from taking control and what weapons they would

bring and plans for the QRF. Id. at ¶ 41-56, 58-60. On December 25, Rhodes wrote to the OKFL

Hangout Chat, “I think Congress will screw him [President Trump] over. The only chance we/he

has is if we scare the shit out of them and convince them it will be torches and pitchforks time is

they don’t do the right thing. But I don’t think they will listen.” Indictment at ¶ 34. Rhodes went

on to say, “And he [President Trump] needs to know that if he fails to act, then we will. He needs

to understand that we will have no choice.” Id. On December 31, one week before the Capitol

attack, Rhodes wrote to the Leadership Intel Chat, “There is no standard political or legal way out

of this.”

        B. Vallejo and His Co-Conspirators Prepared an Armed QRF To Support the Plot
           to Stop the Transfer of Power

        Vallejo and his co-conspirators coordinated at least three regional QRF teams stationed at

a Comfort Inn in Arlington, Virginia, to support the co-conspirators’ plot and the January 6 Capitol

attack. Indictment at ¶¶ 45-49. The QRF teams guarded an arsenal of firearms and related

equipment and were prepared to speed those weapons into the hands of co-conspirators on the



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ground in Washington, D.C., when directed by Rhodes or other conspiracy leaders. Id. Vallejo

served on one of those QRF teams.

       On December 31, 2020, Vallejo’s fellow Arizona QRF team member, PERSON 13,

messaged Rhodes on Signal that Vallejo and others were coming to Washington, D.C., and that

“everyone has their own technical equipment and knows how to use it,” adding a “winky face”

emoji. Indictment at ¶ 44. Rhodes responded, “awesome!” Id. PERSON 13 also said that Vallejo

and the group would have “rifles” and “man power.” Id.

       On January 3, 2021, Rhodes informed a co-conspirator on Signal, “We WILL have a QRF.

this situation calls for it.” Indictment at ¶ 50. In the following days, co-conspirators communicated

and implemented plans to bring weapons to the Comfort Inn. Id. at ¶¶ 58-59, 63-65, 68-69. Vallejo

messaged co-conspirator and Florida team lead Kelly Meggs, “Sir, Ed Vallejo of Arizona in Tenn.

With cadre requesting coordinates to Allied encampment outside DC boundaries to rendezvous.

Please respond ASAP. For the Republic.” On January 5, Vallejo messaged Meggs again, “Please

text location so we will know where to begin in the morning.” Meggs responded with the address

of the Comfort Inn Ballston, where the co-conspirators staged their multiple QRF teams.

       The day before the attack on the Capitol, on January 5, Meggs and his Florida team dropped

off at least three luggage carts’ worth of gun boxes, rifle cases, and suitcases filled with

ammunition with their QRF team. A second QRF team from North Carolina consisted of four men

who kept their rifles ready to go in a vehicle parked in the hotel lot. Later, Vallejo and PERSON

13 wheeled in bags and large bins—as seen in the QRF hotel surveillance stills below, showing

Vallejo on the left and PERSON 13 on the right:




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Throughout, Vallejo and other QRF team leaders updated Rhodes on the extent of their weapons

stock and apprised him of their readiness to support the operation on January 6.

       C. Co-Conspirators Attack the Capitol with Vallejo and Others Staged Nearby with
          Firearms as Part of their Plot to Stop the Lawful Transfer of Power

       At around 6:30 a.m., on January 6, the day of the attack, Rhodes messaged his co-

conspirators before departing from his hotel for Washington, “We will have several well equipped

QRFs outside DC. And there are many, many others, from other groups, who will be watching

and waiting on the outside in case of worst case scenarios.” Indictment at ¶ 70.

       Around that same time, PERSON 13 and Vallejo spoke on a podcast about their intentions

that day. PERSON 13 stated that he and Vallejo arrived in Washington around noon the prior day,

“hooked up with the Oath Keepers and we’ve bivouacked with them in Arlington.” When asked

why they were there, PERSON 13 explained that he and Vallejo “have a little bit of inside

information with the powers that would oppose the powers that be.” He continued, “The idea is

we’re here. We are applying as much pressure as we can. The only and obvious next step is to go

into armed conflict but hoping very much that that doesn’t happen.” When the host asked if that

was a credible threat, PERSON 13 explained, “Anything is on the table … the fact is there are



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people who are prepared, have the will, have the facilities to do more than taunt. The question is:

Is there a shot heard round the world moment? The possibility definitely exists.”

        Vallejo elaborated: “The situation we’ve got here is … it’s a do or die situation. Because

if we walk away from this, and we don’t have any effectual change as a result, then we might as

well just give up. We’re done. We’re done. If we don’t do something now, we’re done. Because

we’ll basically have illustrated that we’ll do nothing in a tinder box situation, and that’s it.” Vallejo

added, “The American people are going to be told today that we have liberty and justice for all, or

they’re going to be told, ‘Fuck you.’ Okay? And if they’re told, ‘Fuck you,’ that’s going to be the

declaration of a guerilla war.” Vallejo continued, “I’m just praying to God that Trump has his

head on fucking straight, he has got the machinations behind him, he’s got all the proof in the

world, and he’s going to bring the fucking hammer down! That’s the only hope, the only chance.

If that doesn’t happen, then this shit is on.”

        When the interviewer commented on what he perceived as a broken election system,

Vallejo announced his intention to use violence to fix it:

        No that’s fine … Because I’m the motherfucker that’s gonna fix it for them if they
        tell me today it’s broken … You know what I’ve been telling people? I’ve been
        telling people for years I’m the guy that everybody said, ‘no Ed, you can’t shoot
        them yet, it’s too soon. No Ed, you can’t shoot the bastards yet, it’s too soon.’ Well
        I’ve been telling them for about five, six months ago. They quit telling me.”

        Later, Vallejo received word from Rhodes that the Electoral College Certification was

going to proceed as required by law, which, in Vallejo’s previous own words, was a declaration of

“guerilla war.” As a large crowd gathered on the Capitol grounds and converged on the building,

Rhodes messaged Vallejo and others on the “DC OP: Jan 6 21” Signal chat: “Pence is doing

nothing. As I predicted. . . . All I see Trump doing is complaining. I see no intent by him to do

anything. So the patriots are taking it into their own hands. They’ve had enough.” Indictment at




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¶ 77. Around 2:30 p.m., Rhodes explicitly directed his co-conspirators to go to the Capitol. Id. at

¶¶ 88-89. Moments later, Stack One marched up the east steps of the Capitol, joined the mob that

was trying to force the doors open, and breached the building. Id. at ¶¶ 93-95, 97-99. At that

moment, Vallejo stood ready to arm his co-conspirators. At 2:24 p.m., Vallejo messaged the “DC

OP: Jan 6 21” Signal chat, “Vallejo back at hotel and outfitted. Have 2 trucks available. Let me

know how I can assist.” Id. at ¶¶ 86. Eager to bring weapons into Washington, D.C., Vallejo

messaged again at 2:38 p.m., “QRF standing by at hotel. Just say the word…” Id. at ¶ 96.

       Inside the Capitol, half of Stack One tried to force past riot police to the Senate Chamber,

but were rebuffed, and the other half went in search of Speaker of the House Nancy Pelosi, but did

not find her. Indictment at ¶¶ 100-106. Meanwhile, Stack Two, arrived at the Capitol grounds

shortly after 2:30 p.m. Id. at ¶ 111. Stack Two then penetrated the Capitol grounds, marched to

the east side doors through which Stack One had entered, and breached the Capitol at

approximately 3:15 p.m. Id. at ¶¶ 113-118. Members of Stack Two tried to force their way into

the Rotunda but were expelled by law enforcement officers who had begun clearing the building.

Id. at ¶¶ 119-121. By 3:57 p.m., Vallejo declared “We are at WAR.” He then attempted, but

failed, to launch what he had earlier described in the “DC OP: Jan 6 21” Signal chat as a “drone

with a 720p cam for recon use.” After they exited the Capitol, members of both Stack One and

Stack Two met up with Rhodes and other Oath Keepers members and affiliates just outside the

Capitol. Id. at ¶ 124.

       Because of the breach of the Capitol, members of the House and Senate were evacuated

from their respective chambers at approximately 2:20 p.m. The Joint Session and the entire official

proceeding of the Congress was halted while Capitol Police and other law-enforcement officers

worked to restore order and clear the Capitol of the unlawful occupants—including Vallejo’s co-




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conspirators. The Joint Session was not able to reconvene until approximately 8:00 p.m. In the

course of the attack, over 100 members of law enforcement were assaulted, and one Capitol Police

officer died shortly after being hospitalized in connection with injuries sustained in the attack.

Additionally, four citizens died; many media members were assaulted and had cameras and other

news-gathering equipment destroyed; and the Capitol suffered millions of dollars in damage—

including broken windows and doors, graffiti, and residue of various pepper sprays, tear gas, and

fire extinguishers deployed both by crowd members who stormed the Capitol and by law

enforcement officers trying to restore order.

       D. After January 6, Vallejo and his Co-Conspirators Continued Efforts to Forcibly
          Oppose the Lawful Transfer of Presidential Power

       While law enforcement was still securing the perimeter of the Capitol grounds and

building, Vallejo and his co-conspirators plotted next steps to ensure they stopped the transfer of

presidential power. At around 4:45 p.m., another individual messaged the “DC OP: Jan 6 21”

Signal chat, “so why are we leaving??? It does NO good to go show up and say your there to

defend and then just leave.” Vallejo responded, “Leaving?!? I ain’t goin nowhere … My statement

was to assure you Arizona won’t let anyone walk.” Displaying a disregard for legal orders, Vallejo

added, “we will monitor all night and transport anyone that meets us on the perimeter curfew be

damned.”

       Later that evening, at around 7:30 p.m., Rhodes messaged the “DC OP: Jan 6 21” Signal

chat, “Thousands of ticked off patriots spontaneously marched on the Capitol .. . . You ain’t seen

nothing yet,” and, “Patriots entering their own Capitol to send a message to the traitors is

NOTHING compared to what’s coming.” Indictment at ¶ 126(a). Vallejo pledged, “We’ll be back

to 6am to do it again. We got food for 30 days.” Id. at ¶ 126(b) (emphasis added). He added,

“We have only [begun] to fight! … ‘After Action Reports’ will be dated 1/21/21,” referring to the



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day after the Inauguration—identified in the 20th Amendment to the Constitution as the day the

President’s term ends. Id. Although law enforcement at the Capitol had successfully repelled the

efforts of the conspiracy to take the Capitol on January 6, Vallejo’s words make clear that the

conspiracy would continue up and through the Presidential inauguration. Undeterred by the

unprecedented violence at the Capitol, Vallejo planned for next steps.

       On January 7, at 5:46 a.m.—mere hours after Congress completed the Electoral College

Certification vote and the Capitol had been attacked—Vallejo messaged the “DC OP: Jan 6 21”

Signal chat, “We are going to probe their defense line right now 6 am they should let us in. We’ll

see.” Indictment at ¶ 127. At 5:54 a.m., he stated, “Departing for Recon now. Stewart [Rhodes]

call me when you’re up.” Id. About ten minutes later, Vallejo continued, “I’ll depart when cleared

by my Commander Sir.” Id. Vallejo then messaged Rhodes personally on Signal, “Status report

posted in Ops[,] room extended 1 day[.] Standing by awaiting orders, Sir.”

       Later that morning, Vallejo and PERSON 13 reappeared on the same podcast they spoke

on the previous day. Vallejo explained that he and others “got up before dawn, and we went to

the Capitol … we did what we needed to do, did our check in, and then we got back here to take

care of business.” PERSON 13 added, “We are here, prepared in all aspects, to support the

Constitution and honor our Oaths that we took … It’s not really plausible to non-violently protest

anymore, because the entire area is closed, and cordoned, and curfewed. So the question becomes,

when we realize that this wrong has been done, what are the next steps? I mean is this the shot

heard ‘round the world moment?” When asked on the podcast if he was returning to Arizona,

Vallejo remained ready to act explaining, “I don’t know. We’ve got to figure out what happens

on the 20th.” Ultimately, Vallejo noted, “I’m never done … I’m waiting for orders from Stewart

Rhodes.”




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       Rhodes and the other co-conspirators were not done either. Rhodes purchased thousands

of dollars’ worth of firearms, ammunition, and equipment and summoned co-conspirators like

Joshua James to his side in Texas. Indictment at ¶¶ 129-130. James collected what he referred to

as “all available firearms,” and traveled to Texas where he stayed with Rhodes and others. Id. On

January 10, James sent Meggs a message asking if Meggs and other Florida Oath Keepers were

coming to Texas to join him and Rhodes, and Meggs responded, “Fl stays home until shots fired

!” Id. at ¶ 131.

       Vallejo did try to join Rhodes in Texas. On January 11, Rhodes messaged Vallejo on

Signal, “Ed, what’s your 20? You in TX?” Vallejo responded that he had been delayed, and

Rhodes noted that he was “up in Ft Worth area.” Vallejo replied, “C U there[.] Godspeed Sir.”

On January 12, Vallejo messaged Rhodes, “We have arrived at the Courthouse.” PERSON 13

messaged Rhodes, “Hi Stewart. I’m sure you’re busy[] but wanted to let you know that [Vallejo]

and I are here … We are excited to learn next steps and would like to know what we should be

doing right now.” Id. at ¶ 132. On January 20, Inauguration Day, James messaged another

individual, “After this…if nothing happens…its war…Civil War 2.0.” Id. at ¶ 133. Around this

time, Rhodes messaged others to organize local militias to prepare to forcibly oppose the new

administration. Id. at ¶ 134.

       E. Co-Conspirators Conceal Evidence of the Conspiracy

       Many of Vallejo’s co-conspirators also took steps to destroy evidence of their involvement

in this conspiracy and discussed securing their communications. In the weeks after January 6, an

associate of Rhodes’s encouraged various co-conspirators to delete incriminating messages from

their phones. The investigation has revealed that numerous co-conspirators deleted evidence from

their phones in the weeks after January 6. Rhodes—Vallejo’s perceived commander, from whom




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he took orders throughout the conspiracy—also messaged with Vallejo about securing his

communications from the government. On January 24, less than a week after the first co-

conspirators were arrested, Rhodes messaged Vallejo on Signal, “Ed, keep in mind that is NOT a

secure chat. Contains at least one turn-coat snitch. Keep that in mind. Please confirm you got

this.” Vallejo responded that he had received Rhodes’s message, expressed that he was innocent,

and reminded Rhodes, “[i]f you ever need me for ANYTHING I am on call and am at your service,

Sir!”

         F. Vallejo’s Continued Threat

         One year later, Vallejo continues to believe his and others’ actions at the Capitol on January

6 were not unlawful or dangerous. On December 30, 2021, Vallejo retweeted a message stating

in part, “There was NO INSURRECTION on J6 just a peaceful protest.” 1 And, as recently as

January 8, 2022, Vallejo continued to sanitize the Capitol attack and specifically focus on the 2020

Presidential Election, retweeting, “The real insurrection happened in the wee hours of Nov. 4,

2020.” 2 Further, Vallejo continues to endorse violence against authorities when he disagrees with

actions those authorities take. In December 2021, commenting on vaccine efforts related to the

ongoing pandemic, Vallejo threatened: “I HAVE NEWS FOR YOU … you will NEVER achieve

‘vaccine equality’ as long as I, and others like me, are alive! … I will DIE first, and that’s only

when I run out of AMMUNITION!” 3




1
  See https://twitter.com/Starryder10/status/1476647037491769344.
2
  See https://twitter.com/beachlvr21399/status/1479832036160548866.
3
  See https://twitter.com/Psychictaxi/status/1476565450150449153.


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   IV.      Argument

         Pursuant to 18 U.S.C. § 3142(a), when a defendant is arrested, the Court, in relevant part,

“shall issue an order that, pending trial, the person be (1) released on personal recognizance . . . ;

(2) released on a condition or a combination of conditions . . . ; or (4) detained under subsection

(e).” Detaining a defendant under Section 3142(e) requires a hearing “pursuant to the provisions

of subsection (f).” Id. at § 3142(e). The evidence outlined above makes plain that Vallejo should

be detained pending trial.

         A. Bases for Detention Request

         According to Section 3142(f), there are limited circumstances in which the Court “shall

hold a hearing to determine whether any condition or combination of conditions . . . will reasonably

assure the appearance of such person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(f); see also United States v. Twine, 344 F.3d 987, 987 (9th Cir.

2003). Here, three of those circumstances apply: Subsection (f)(1)(E) (case that involves a felony

“that involves the possession or use of a firearm, destructive device … or any other dangerous

weapon”), 3142(f)(2)(A) (case that involves “a serious risk that [the defendant] will flee”), and

3142(f)(2)(B) (case that involves “a serious risk that [the defendant] will obstruct or attempt to

obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a

prospective witness or juror”). All three bases for a detention hearing are supported by the

evidence outlined above.

         First, this case involves the possession and use of firearms. Section 3142(f)(1)(E) mandates

a detention hearing in connection with “any felony” if the Government proves by a preponderance

of the evidence that the charged felony “involves the possession or use of a firearm or destructive

device[.]” In determining whether the charged felony “involves the possession or use of a




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firearm,” the Court “may consider the actual conduct at issue in the specific case,” and not just

whether the elements of the charged offenses required the possession or use of a firearm. United

States v. Watkins, 940 F.3d 152, 166 (2d Cir. 2019). 4 Here, the conspiracy involved the planning

and coordination of QRF teams armed with an arsenal of firearms that Vallejo and others would

bring to co-conspirators on the ground at the direction of Rhodes or other leaders of the conspiracy.

Accordingly, this case involves the possession and use of firearms, and Section 3142(f)(1)(E) is

an appropriate basis for a detention hearing.

       Second, this case also involves a serious risk of flight as defined in 18 U.S.C.

§ 3142(f)(2)(A). Vallejo is facing potential conviction on numerous felony offenses that each

carry statutory maximum penalties of up to twenty years of incarceration. He is alleged to have

participated in a conspiracy to oppose the lawful transfer of presidential power by force, making

it inherently unlikely that he will be willing to comply with conditions of release set by this


       4
          In an analogous context interpreting Section 3142(f)(1)(A), the Fifth Circuit held that “it
is not necessary that the charged offense be a crime of violence; only that the case involve a crime
of violence or any one or more of the § 3142(f) factors.” United States v. Byrd, 969 F.2d 106, 110
(5th Cir. 1992) (emphasis in original). In Byrd, the court held that the government could have met
(but did not) its burden under Section 3142(f) by showing that the nonviolent charged offense—
receiving a videotape depicting minors engaged in sexually explicit activity—was accompanied
by actual violent criminal activity such as child molestation.

        In United States v. Singleton, 182 F.3d 7 (D.C. Cir. 1999), this Circuit took a different,
categorial approach to the question of whether an offense is a “crime of violence” under Section
3142(f)(1)(A), holding that it is “a question of law to which the underlying facts of a particular
case are irrelevant.” 182 F.3d at 12. But the Singleton court reached this conclusion by focusing
on the definition of “crime of violence” in 3156(4), in which that term means in the first instance
“an offense.” Id. Singleton was statutorily overruled by the Adam Walsh Child Protection and
Safety Act of 2006, PL 109-248, 120 Stat 587, at sec. 216 (July 27, 2006), which added subsection
(E) to 3142(f)(1). In adding subsection (E), Congress opted to not use the term “offense,” which
is the triggering mechanism in subsections 3142(f)(1)(A) through (D), but rather opted for the
more expansive term “involves.” The Second Circuit relied on this legislative history in Watkins
in finding that “Congress clearly intended for courts to pierce the veil of the charged offense and
consider the conduct underlying the offense, including who was harmed and whether any firearms
were used in the course of committing the offense,” to establish a basis for detention. 940 F.3d
166.


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government. Additionally, Vallejo resides in a compound-like structure surrounded by barbed-

wire fences and demonstrated in January 2021 that he is willing and capable of preparing and

storing months’ worth of food at a time. If Vallejo repudiates the Court’s authority and his

conditions of release the way he forcibly repudiated the laws of the United States, he has the means

and capability of bunkering down and refusing to appear for court-ordered hearings. These factors

all combine to give Vallejo the incentive and means to flee and attempt to evade prosecution.

       Finally, this case also involves a risk of tampering with witnesses and evidence and

obstructing justice. As described above, Vallejo’s co-conspirators went to great efforts to delete

key communications regarding this conspiracy and to convince others to do the same—to include

Rhodes, for whom Vallejo would do “ANYTHING.”                Further, Vallejo is alleged to have

participated in arguably one of the most consequential obstruction efforts in the history of the

United States. He is charged in part with plotting to oppose the government’s laws by force and

with obstructing, influencing, or impeding any official proceeding—here, the congressional

proceedings to certify the 2020 United States Presidential Election. A defendant willing to take

these extraordinary steps to obstruct the certification of a presidential election surely poses a

serious risk of obstructing justice or intimidating witnesses involved in his own criminal case.

       Under any of those three bases—firearms, flight, and obstruction—a detention hearing is

warranted. And together, those three features illustrate the need to detain Vallejo pending trial to

protect the community, ensure his return to court, and safeguard the integrity of evidence and the

proceedings in this case.

       B. Analysis

       The Court must consider four factors to determine whether pretrial detention is warranted

and necessary: (1) the nature and circumstances of the offense charged, including whether, for




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example, the offense is a crime of violence; (2) the weight of the evidence against the defendant;

(3) the history and characteristics of the defendant; and (4) the nature and seriousness of the danger

to any person or the community that would be posed by the defendant’s release. 18 U.S.C.

§ 3142(g). The burden of persuasion rests with the government. United States v. Stone, 608 F.3d

939, 945 (6th Cir. 2010). A judicial officer’s finding of dangerousness must be supported by clear

and convincing evidence. 18 U.S.C. § 3142(f); Stone, 608 F.3d at 945. When “risk of flight” is

the basis for detention, however, the government must only satisfy a preponderance of the evidence

standard. United States v. Xulam, 84 F.3d 441, 442 (D.C. Cir. 1996); United States v. Chimurenga,

760 F.2d 400, 405-06 (2d Cir. 1985); United States v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985);

United States v. Orta, 760 F.2d 887, 891 (8th Cir. 1985); United States v. Motamedi, 767 F.2d

1403, 1406 (9th Cir. 1985). An analysis of these four factors weighs heavily in favor of Vallejo’s

detention given the clear and convincing evidence that he presents a particular danger to the

community as well as the preponderance of evidence that he poses a serious risk of flight and of

obstructing justice.

                       1. Vallejo’s Criminal Activity was Extreme and Serious

       A grand jury has found probable cause to charge Vallejo with participating in a conspiracy

to forcibly oppose the lawful transfer of presidential power in the United States. It is difficult to

imagine conduct that poses a graver risk to our society than one targeted at undermining the laws

and procedures at the heart of our democratic process—and doing so with force. See United States

v. Munchel, 991 F.3d 1273, 1283 (D.C. Cir. 2021) (“[T]o order a defendant preventatively

detained, a court must identify an articulable threat posed by the defendant to an individual or the

community. The threat need not be of physical violence, and may extend to ‘non-physical harms

such as corrupting a union.’”) (quoting United States v. King, 849 F.2d 485, 487 n.2 (11th Cir.




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1988)). As described in greater detail above and in the indictment, Vallejo volunteered to

participate; he drove thousands of miles across the country with firearms, ammunition, and

equipment; he participated in planning meetings and chats on encrypted messaging applications;

he made clear on the morning of January 6 that he was willing and prepared to do more than “taunt”

and engage in a “guerilla war”; he prepared to quickly transport firearms and gear to co-

conspirators on the ground who were, at that time, attacking the Capitol; and he continued the

mission before the dust had even settled by “probing” the Capitol and conducting “Recon” on

January 7. This factor weighs in favor of detention.

       The defense argues that the defendants’ participation in the attack on the Capitol was a

one-time, spontaneous act and that Vallejo’s role was minimal. ECF 102 at 22. Neither assertion

is true. Following the January 6 riots, Vallejo and his co-defendants continued to plot to oppose

the execution of the laws governing the transfer of presidential power. In the weeks after January

6, Rhodes purchased tens of thousands of dollars in weapons and ammunition. Indictment at ¶¶

129-130. On January 11, Rhodes told his co-conspirators to “Get ready to rock and roll, shit’s

about to go down,” and called upon those who were fit enough to move, shoot, and communicate

to get organized and be prepared to do so. ECF No. 40 at 11, Ex. 1 (page 43). That same day,

Rhodes messaged Vallejo on Signal, “Ed, what’s your 20? You in TX?” Vallejo responded that

he had been delayed, and Rhodes noted that he was “up in Ft Worth area.” Vallejo replied, “C U

there[.] Godspeed Sir.”

       With respect to Vallejo’s role, it was far from minor. He took responsibility for speeding

firearms and related equipment into the hands of co-conspirators on the ground, if needed to

achieve the goals of the conspiracy. Indictment at ¶ 12. When it became clear that the Capitol was

under attack, Vallejo sought to be activated, sending messages to the “DC OP: Jan 6 21” Signal




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chat stating, “Vallejo back at hotel and outfitted. Have 2 trucks available. Let me know how I can

assist.” And “QRF standing by at hotel. Just say the word….” Id. at ¶¶ 86, 96.

       Finally, the defense compares Vallejo’s actions against those who breached the Capitol and

received probationary sentences, and defendant Thomas Caldwell, who plotted to transport

weapons by boat into the Capitol but was released by this Court. ECF 102 at 23. Again, the defense

wholly minimizes Vallejo’s conduct. Vallejo offered to provide armed support to dozens of

conspirators who had trained together. His conduct is far more severe than a single individual

entering the Capitol. With respect to defendant Caldwell, the government sought his detention and

believed his role in organizing the QRF, participating in the conspiracy, and breaching the Capitol

grounds during the January 6 attack demonstrated a danger to the community and to our democratic

system of government that could not be protected against by any conditions of release. The

government’s evidence regarding the QRF was less well developed at the time this Court

considered Defendant’s Caldwell’s detention, however. Since that time, the government has

confirmed, through cooperating witness and defendant testimony that the QRF teams staffed by

Defendant Vallejo and others contained multiple luggage carts’ worth of firearms, ammunition,

and related equipment. These same witnesses and cooperating defendants confirmed that the

conspirators’ plan was for the QRF members to transport this arsenal into Washington, D.C., if

called to do so by Stewart Rhodes or other leaders of the conspiracy. That Vallejo signed up for a

role in this QRF and sought to fulfill this role while knowing the Capitol was under attack cast him

in a very different light than that in which co-defendant Caldwell was placed when this Court

considered his detention.

       The defense’s remaining arguments can be dismissed easily. They argue that the

circumstances of the seditious conspiracy are “time bound” because the presidential transition of




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power went forth in January 2021. ECF 102 at 23. However, the defense points to no evidence

citing that the conspirators have renounced their overarching goals of overturning the 2020

election. Indeed, Vallejo has continued to claim on Twitter that the real insurrection occurred on

election day. See supra at 13. Although it would be impossible for the defendants to engage in the

same conspiracy because the presidential transfer of power is complete, there is absolutely no

evidence that Vallejo and his co-conspirators would not participate in a different seditious

conspiracy to achieve their continued overarching goals.

                     2. The Weight of the Evidence Against Vallejo is Strong 5

       Vallejo’s dangerousness is chronicled in his written and recorded communications;

corroborated by his conduct before, during, and after January 6; buttressed by his obstruction

efforts; and reinforced by the indisputable success of his and his co-conspirators’ plot where, most

alarmingly, dozens of Oath Keepers gathered in the Washington area on January 6 to participate

in an attack on the Capitol featuring two military-style stacks and an armed QRF that he

participated in, which forced the Certification of a Presidential Election to be delayed.

       Vallejo’s actions and words speak for themselves.             His electronic and recorded

communications show he was an active participant in the seditious conspiracy, willing and able to

penetrate Washington, D.C., with an arsenal of firepower and equipment to arm his fellow co-

conspirators to stop the transfer of power. Casting the struggle for control of the White House in

existential terms—repeatedly using terms like “WAR” and “guerilla war” to describe the path

forward—Vallejo emphasized that he and his co-conspirators may have no choice but to take up

arms to stop the next administration from taking power. Then he traveled across the country to

the Washington, D.C., metropolitan area, with firearms and ammunition and wheeled multiple


       5
        “This factor goes to the weight of the evidence of dangerousness, not the weight of the
evidence of the defendant’s guilt.” Stone, 608 F.3d at 948 (citation omitted).


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large bins of equipment into the QRF hotel, ready to take matters into his own hands. And, on

January 6, Vallejo actively sought to join his co-conspirators’ attack on the Capitol and did in fact

support it: when his co-conspirators breached the Capitol, pivotal moments in the January 6 attack,

they did so knowing they had Vallejo and other QRF teams supporting them just across the river

with an arsenal.

       Vallejo did not stop there. On the night of the attack, Vallejo was not deterred by the law

enforcement presence or violence that marred the day, but rather he told his co-conspirators he

was ready “to do it again.” Shortly after the Congressional proceedings finally concluded in the

early morning hours of January 7, Vallejo was already probing defenses and conducting

reconnaissance around the Capitol to report back to Rhodes and his co-conspirators. Indeed,

Vallejo was prepared for a prolonged attack with a months’ worth of food and was already

targeting the next constitutional benchmark of January 20, Inauguration Day: “We have only

[begun] to fight! … After Action Reports’ will be dated 1/21/21.” Vallejo was prepared to use

force to stop this country’s presidential transfer. There is no reasonable basis to believe this

defendant would abide by any conditions of release.

       Vallejo displayed a willingness to continue his criminal activity and loyalty to Rhodes after

January 6. Within a week of the attack, Vallejo was already trying to learn next steps and to

reconnect with Rhodes in Texas, where Rhodes had begun amassing other co-conspirators and

thousands of dollars of firearms and tactical equipment. Vallejo told his commander and the leader

of the co-conspirators’ attack on the Capitol that he was on call and at Rhodes’s service if he

needed “ANYTHING,” displaying a continued willingness to engage in dangerous, illegal

behavior. Meanwhile, Rhodes continued to encourage his followers to forcibly oppose the

government—on January 28, for example, Rhodes appeared on the “Infowars” program and told




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listeners they need to treat the Biden Administration as an “occupying enemy force.” Far from

disavowing Rhodes or any intentions to forcefully oppose the United States, Vallejo messaged

Rhodes as late as March 2021 agreeing to join a new Signal group chat and confirming to Rhodes

that he understood the importance of secure communications.

           The defense has creatively sought to provide alternative, improbable explanations for

Vallejo’s inculpatory statements. These arguments are weak. For example, when Vallejo identified

himself as the QRF and “outfitted” with two trucks, the defense claims that Vallejo was literally

speaking about his outfit at the time. ECF 102 at 26. It remains wholly unclear why the remainder

of the conspirators, who were present and actively breaching the Capitol at the time, would care

what attire Vallejo was wearing. Instead, the much more probable explanation, is that Vallejo’s

use of “outfitted” pertained to the cache of weapons that he, as part of the QRF, guarded. This

explanation is consistent with Vallejo’s statement earlier in the day concerning guerilla war.

Vallejo conditioned war on the certification of the electoral college vote, which became a forgone

conclusion with Vice President Pence’s declaration on the afternoon of January 6 that he had no

lawful means to intervene. See supra at 9 (Rhodes: “Pence is doing nothing”). The court can find

further confirmation in Vallejo’s “We are at WAR” declaration on the evening of January 6. Wars

demand guns, not clothes.

           When it becomes impossible to find alternative meanings for Vallejo’s violent statements,

the defense claims that Vallejo is merely being “humorous,” “overly jargoned,” 6 or speaking

“jokingly.” ECF 102 at 28, 13. The court should, however, take Vallejo at his words. Vallejo drove

thousands of miles across the country. He guarded a cache of weapons just a few miles from the

Capitol. He attempted to launch a drone as the military resecured the Capitol on January 6. There



6
    Vallejo served in the military for 13 months in 1977-1978 before receiving an honorable discharge.


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is simply no evidence that Vallejo’s words were overly bombastic. They were consistent with his

actions.

        The defense also relies on the statements of Vallejo’s Arizona travel companion and fellow

Arizona QRF member, PERSON 13, as a “credible” witness who claims Vallejo had no contact

with the weapons. ECF 102 at 29. PERSON 13’s statements are consistently incredible. For

example, while caravanning across the country with Vallejo, PERSON 13, in addition to

messaging Rhodes that the Arizona contingent were “rifles” for the President also messaged

Rhodes, “Hi Stewart, Ed Vallejo wants to be a speaker. We are requesting a slot for him. We need

to now (sic) where staging is going to be for technical equipment and ‘supplies.’” Exhibit 3 at 4.

Initially, when questioned by law enforcement in the months after the riots, PERSON 13 lied and

stated that he did not know Vallejo’s name, before later admitting that he knew Vallejo for many

years. Exhibit 2 at 1. Despite both the overt and barely disguised references to weapons, PERSON

13 also told investigators that he never saw any weapons, had no knowledge what was inside the

bags and totes that he was guarding at the hotel, and was wholly unaware the meaning of “QRF.”

Exhibit 2 at 2. PERSON 13 then revised his statements again. In an additional follow up interview,

PERSON 13 stated that he had previously had a stroke and now remembered transporting at least

one personal weapon with him. Exhibit 3 at 1. When asked about his message to Rhodes

concerning “supplies,” Person 13 stated that he may have been talking about a “six pack” of beer. 7

Exhibit 3 at 4-5. PERSON 13 also admitted to being in a signal group titled “QRF” but stated that

he thought the group was for making “dinner plans.” Exhibit 3 at 2. Given PERSON 13’s wildly

inconsistent statements and alleged stroke affecting his memory, the Court should not rely on him.8


7
  Unexplained, of course, is why PRESON 13 would place quotation marks around “supplies” if he truly referred to
a six pack of beer, which is legal.
8
  Defense also relies on a published news article where various members of multiple QRFs provided interviews. See
Defense Exhibit 12. The government can outline prior statements and messages for many of the individuals quoted


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         Finally, the defense claims that Vallejo was unaware of who was actually attacking the

Capitol when he offered via Signal to transport the “outfitted” pickup trucks into the city and that

it may have been Antifa. ECF 102 at 12. However, the messages sent by Rhodes (i.e. Vallejo’s

commander) to the chats in which Vallejo participated were clear: Antifa was uninvolved. Between

1:25 and 1:36 PM, Rhodes stated, “Pence is doing nothing. As I predicted….All I see Trump doing

is complaining. I see no intent by him to do anything. So the patriots are taking it into their own

hands. They’ve had enough.” See Defense Exhibit 8 at 76. At 2:41 p.m., Rhodes sent a photograph

to the chat showing riots at the Capitol with the message, “South side of US Capitol. Patriots

pounding on doors[.]” When another member of the chat stated, “We own that fucking building

and keep charging,” Rhodes added, “Pissed off patriots. Come to the South side. Just left of

dome.” Later, at 6:24 PM, after the Capitol had been re-secured, Rhodes declared, “Look, I WAS

THERE. I WAS RIGHT OUTSIDE. Patriots stormed in. Not Antifa. And I don’t blame them.

They were justifiably pissed off.” Id. at 90. Kelly Meggs stated at 6:36 PM, “We are now the

enemy of the state.” Id. In reply, four minutes later, Vallejo stated that he had attempted to launch

a drone, presumably to spy on the state that Meggs said he was now an enemy of (i.e. the United

States government). Id. at 91. Any post facto Antifa confusion defense is inconsistent with the

actual communications Vallejo received from Rhodes and Meggs on January 6.

         There is overwhelming evidence that Vallejo participated in a plot to oppose by force the

execution of the laws of the United States and that he possesses the willingness and capacity to

continue to engage in criminal conduct. Under these circumstances, only pretrial detention can

protect the community from the danger Vallejo poses.

                         3. History and Characteristics of Vallejo


in the article to rebut their public statements. However, these issues, at this stage of the proceeding, do not pertain
directly to Vallejo’s dangerousness.


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       Vallejo’s history and characteristics animate the conclusions drawn from the facts above.

Vallejo, who previously served in the United States Army, used his military training to participate

in an attack on our core democratic traditions. Nothing in his post-January 6 statements or conduct

suggest he would refrain from doing it again if he felt his vision of what is necessary was

threatened. In fact, he said so himself on the night of January 6, in the hopes his co-conspirators

would join him through the Inauguration. There is every reason to credit Vallejo’s own words and

deeds and fear that he would plan additional violence if not detained.

       Vallejo’s social media posts up to just this week only accentuate that concern. He continues

to threaten to use firearms against authority when he disagrees with that authority, recently

messaging that he would “DIE first” before accepting any vaccines related to the ongoing

pandemic and “only when I run out of AMMUNITION!” And, as recently as this week, Vallejo

continued to operate as if what he and his co-conspirators did was not unlawful or dangerous,

calling the Capitol attack a “peaceful protest” and referring to the 2020 Presidential Election as the

“real insurrection.” Vallejo’s ongoing willingness and capacity to use firearms on authorities with

which he disagrees establishes that no release condition can ensure the safety of the community.

       The defense presents numerous anecdotal comments from individuals who state that they

have known Vallejo for years and can speak to his peaceful loving character. ECF 102 at 4 (e.g.

“I’ve never seen him get angry, act violent…”). These testimonials should be dismissed.

According to Vallejo himself, he had been advocating for political violence well prior to January

6. See supra at 8 (“I’ve been telling people for years I’m the guy that everybody said, ‘no Ed, you

can’t shoot them yet, it’s too soon. No Ed, you can’t shoot the bastards yet, it’s too soon.’ Well

I’ve been telling them for about five, six months ago. They quit telling me.”). None of the

individuals cited by defense address Vallejo’s self-declared long running continued interest in




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violent political action. Further, Vallejo admits that his community no longer implores him to

restrain his violent aspirations. Indeed, once the community stopped telling Vallejo to refrain from

violence, he drove across the country, guarded an arsenal of weapons just miles from the Capitol,

and then offered to transport those weapons into the Capitol during an unprecedented riot. Vallejo,

unshackled by whatever community guardrails that once existed, remains a violent danger. The

court need not look further than his own words.

                      4. Vallejo’s Danger to the Community and Risk of Flight and
                         Obstruction if Released

         Finally, Vallejo is a danger to the community and presents a risk of flight and obstruction

of justice. He participated in a conspiracy to oppose by force the lawful transfer of presidential

power and an attack on the United States Capitol in furtherance of this plot. Moreover, Vallejo

supported his co-conspirators’ attack on the Capitol by serving as an armed QRF standing ready

at a moment’s notice to ferry an arsenal of firearms into their hands. That Vallejo’s co-conspirators

did not activate him on January 6 does not mitigate his dangerousness. Vallejo traveled across the

country and staged himself near the congressional proceedings ready to transport firearms and

equipment into the nation’s capital. That is what makes him a danger. And there is no evidence

that he has renounced violence or that he no longer believes in the necessity of guerilla warfare

after January 6 (“We’ll be back to 6am to do it again,” and retweeting this month, “The real

Insurrection happened in the wee hours of January 4, 2020”). That is what makes him a danger

today.

         Similarly, the evidence and seriousness of the charged offenses give Vallejo every

incentive to flee and avoid prosecution. And inherent in his alleged actions is his willingness to

obstruct formal proceedings that he opposes, including a presidential election, so there is no reason




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to believe the defendant will treat his criminal case differently. His words were deliberate, his

deeds were calculated, and his intent was criminal, dangerous, and obstructive.

   V.      Conclusion

        A grand jury has found probable cause to believe that Vallejo participated in a plot to

oppose by force the execution of the laws governing the transfer of presidential power—including

an attack on the Congress while it reviewed the election results. In so doing, Vallejo showed a

contempt for the laws and Constitution of this country that make it impossible to trust that he

would comply with any conditions fashioned by this Court for his release. Vallejo must continue

to be detained pending trial to protect the safety of the community, ensure his return to court, and

safeguard the integrity of the evidence and proceedings in this case.

                                      Respectfully submitted,

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Dated: April 25, 2022




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